                        UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF NORTH CAROLINA
                              WESTERN DIVISION

                               CASE NO.: 5:09-CR-216-8FL

UNITED STATES OF AMERICA                     )
                                             )
       v.                                    )       ORDER TO CONTINUE
                                             )       DETENTION HEARING
ZIYAD YAGHI                                  )
                                             )

       For good cause shown, the motion by Defendant Ziyad Yaghi to continue the

detention and probable cause hearing in this matter is ALLOWED. The hearing shall be

rescheduled for ______________, 2009 at ______ am/pm, in ________________.

       The ends of justice being served by this continuance outweigh the interests of the

Defendant and the public in a speedy trial, in that counsel requires additional time to meet

with the Defendant and confer with him to prepare for hearing; therefore, such period of

delay occasioned by this continuance is excluded from speedy trial computation under 18

U.S.C. § 3161(h)(8)(A).

       SO ORDERED, this _____ day of ____________, 2009.

                                      ________________________________________
                                      UNITED STATES MAGISTRATE JUDGE




        Case 5:09-cr-00216-FL Document 61 Filed 07/29/09 Page 1 of 1
